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 1
                                                                                Judge Robert J. Bryan
 2

 3
                             IN THE UNITED STATES DISTRICT COURT
 4                             WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
 5

 6   UNITED STATES OF AMERICA,                      )
                                                    )
 7                          Plaintiff,              ) No.: CR10-5407RJB
                                                    )
 8                vs.                               ) ORDER ALLOWING WITHDRAWAL AND
                                                    ) SUBSTITUTION OF COUNSEL
 9                                                  )
                                                    )
10   RANDY SCOTT CHALUPA,                           )
                                                    )
11                           Defendant.             )
12   __________________________________
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14
            All materials filed regarding defendant’s motion for order allowing withdrawal and
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16
     substitution of counsel having been fully considered, the Court now rules as follows;

17          It is hereby ORDERED that attorney James B. Feldman is permitted to withdraw as

18   attorney of record for defendant and that a new C.J.A. attorney will be appointed to represent
19   him.
20
            DATED this 26th day of August, 2010.
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23
                                          A
                                          ROBERT J. BRYAN
24                                        United States District Judge

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